               Case 19-26391-LMI          Doc 32    Filed 07/01/20     Page 1 of 3




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

In re:                                                        Case No. 19-26391-LMI
         NICOLAS VILLALOBOS                                   Chapter 7

      Debtor(s).
______________________________/

                    RESPONSE TO TRUSTEE’S OBJECTION TO
               CLAIM NO. 4-1 FILED BY SPACE COAST CREDIT UNION

         Creditor, SPACE COAST CREDIT UNION (“Space Coast”), by and through undersigned

counsel, hereby files its Response to Trustee’s Objection to Claim No. 4-1 of Space Coast Credit

Union [D.E. 31], and states as follows:

         1.    On December 6, 2019 (“Petition Date”), the Debtor, NICOLAS VILLALOBOS,

filed a voluntary petition for relief under Chapter 7, Title 11 of the United States Bankruptcy Code.

         2.    Space Coast holds a Note and Loan Documents on Debtor’s personal property,

1990 Pursuit (the “Property”).

         3.    On April 28, 2020, Space Coast timely filed a Proof of Claim in the total amount

for the deficiency balance [Claim No. 4-1].

         4.    On June 23, 2020, in response to Trustee’s objection, Space Coast filed an amended

Proof of Claim in the total amount for the deficiency balance after sale [Claim No. 4-2].

         5.    Proof of the deficiency balance after sale has been filed as an exhibit to the

Amended Proof of Claim 4-2.

         6.    Space Coast’s Proof of Claim was executed and filed in accordance with the Federal

Rules of Bankruptcy Procedure and therefore constitutes prima facie evidence of the validity and

amount of the claim in accordance with Fed.R.Bankr.P. 3001(f).
               Case 19-26391-LMI         Doc 32       Filed 07/01/20   Page 2 of 3




       7.      Accordingly, Space Coast objects to the Trustee’s attempt to improperly strike

Space Coast’s claim and respectfully requests the Court overrule the Trustee’s Objection.

       8.      Space Coast has retained the legal services of Blaxberg, Grayson, Kukoff &

Forteza, P.A., and is indebted to said attorneys to pay them a reasonable attorneys’ fee.

       WHEREFORE, for the reasons stated herein, Space Coast Credit Union respectfully

requests the Court overrule the Trustee’s Objection, allow Space Coast’s unsecured claim in the

total amount of $8,399.44 [Amended Claim No. 4-2], and grant such other and further relief as the

Court deems just and proper.

                                      Dated: July 1, 2020

                                      BLAXBERG, GRAYSON, KUKOFF & FORTEZA P.A.
                                      Attorneys for Space Coast Credit Union
                                      25 SE Second Avenue, Suite 730
                                      Miami, Florida 33131
                                      Phone: (305) 381-7979 x 333
                                      Fax: (305) 371-6816
                                      Isabel.colleran@blaxgray.com

                                      By: /s/ Isabel V Colleran           d
                                            Isabel V Colleran, Esq.
                                            Fla. Bar No. 450472




                                                  2
               Case 19-26391-LMI        Doc 32       Filed 07/01/20    Page 3 of 3




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 1, 2020, a true and correct copy of the foregoing was

served via CM/ECF electronic transmission to those parties who are currently on the list to receive

e-mail notice and service for this case, and by U.S. Mail to the following:

 Nicolas Villalobos                                  Robert Sanchez, Esq.
 Debtor                                              Counsel of Debtor
 650 E 16th Place                                    355 W 49 St.
 Hialeah, FL 33010-3235                              Hialeah, FL 33012
                                                     Email: court@bankruptcyclinic.com
 Robert A. Angueira                                  Office of the US Trustee
 Trustee                                             U.S. Trustee
 16 SW 1st Avenue                                    51 S.W. 1st Ave., Suite 1204
 Miami, FL 33130                                     Miami, FL 33130
 trustee@rabankruptcy.com                            USTPRegion21.MM.ECF@usdoj.gov




                                             By:        /s/ Isabel V Colleran    d
                                                       Isabel V Colleran, Esq.
                                                       Fla. Bar No. 450472




                                                 3
